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 6
                                   UNITED STATES DISTRICT COURT
 7
                                           DISTRICT OF NEVADA
 8
     Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera,        No.: 2:15-cv-01045-RFB-BNW
 9   Luis Javier Vazquez, and Kyle Kingsbury, on
     behalf of themselves and all others similarly
10   situated,

11                          Plaintiffs,                      MOTION TO CONDUCT STATUS
                                                             CONFERENCE
12          v.

13   Zuffa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
14
                            Defendant.
15

16          Plaintiﬀs, through their undersigned counsel of record, move the Court to conduct a status
17   conference in this case.
18          More than a year has passed since the Court and counsel for all parties met to discuss the status of
19   the case on May 12, 2021 (ECF No. 815). Plaintiﬀs suggest it would be useful to meet again at the
20   convenience of the Court to discuss the pending motion, status, and future schedule of the case.
21          DATED this 7th day of July, 2022.
22                                                Respectfully submitted,
23                                                KEMP JONES, LLP
24                                                By:    /s/ Don Springmeyer
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 1                                       CERTIFICATE OF SERVICE

 2          I hereby certify that on this 7th   day of July, 2022 a true and correct copy of MOTION TO

 3   CONDUCT STATUS CONFERENCE was served via the District Court of Nevada’s ECF system to all

 4   counsel of record who have enrolled in this ECF system.

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 6                                                  /s/ Pamela McAfee
                                                   An employee of Kemp Jones, LLP
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